Case 7:12-cr-00042-MFU         Document 399 Filed 10/31/13      Page 1 of 1      Pageid#:
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                                                                                 AT ROANOKE. VA
                                                                                      !-J;.t'
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                     IN THE UNITED STATES DISTRICT COURT
                    FO R TH E W ESTERN DISTR IC T O F V IR G IN IA
                                                                                 0CT 3 12213
                                R O AN O K E DIV ISIO N                      JULIA 1
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K IA N IC O LE M A N NIN G ,

      Plaintiff,                                      C rim inalA ction N o.7:12cr42

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U NITED STATE S O F AM ERIC A ,                       By:Sam uelG .W ilson
                                                      United StatesD istrictJudge

      D efendant.

      ln accordancewith the mem orandtlm opinion entered on thisday,itishereby

O RDERED andADJUDGED thatM anning'sm otion form itofhabeascorpusptlrsuantto 28

U.S.C.j2255isDENIED,andthismatterisSTRICKEN from thecourt'sactivedocket.
Further,fndingthatM anning hasfailed to maketherequisite substantialshowing ofthe denial

ofaconstitutionalright,asrequiredby28U.S.C.j2253/),acertificateofappealabilityis
D EN IED .
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      ENTER :October31,2013.



                                         LH TED STATES DISTRICT JUDGE
